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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION



HANS MOKE NIEMANN,

               Plaintiff,
                                                   Case No. 4:22-cv-01110-AGF
       vs.

SVEN MAGNUS ØEN CARLSEN A/K/A                      Hon. Audrey G. Fleissig
MAGNUS CARLSEN, PLAY MAGNUS AS
D/B/A PLAY MAGNUS GROUP, CHESS.COM,
LLC, DANIEL RENSCH A/K/A “DANNY”
RENSCH, AND HIKARU NAKAMURA,

               Defendants.

                                 ENTRY OF APPEARANCE

       Nima H. Mohebbi, of the law firm of Latham & Watkins LLP, hereby enters his appearance

on behalf of Defendant Play Magnus AS d/b/a Play Magnus Group in the above-captioned case.

DATED:       April 11, 2023                       Respectfully Submitted,
                                                 /s/ Nima H. Mohebbi
                                                 Nima H. Mohebbi (# 275453CA)
                                                 LATHAM & WATKINS LLP
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                                                 Counsel for Defendant Play Magnus AS
                                                 d/b/a Play Magnus Group
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 11, 2023, the foregoing document was

served on all counsel of record by ECF.

DATED:        April 11, 2023              /s/ Nima H. Mohebbi
                                          Nima H. Mohebbi (# 275453CA)
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